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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG                     §         MDL NO. 2179
        “DEEPWATER HORIZON” IN THE                  §
        GULF OF MEXICO, on April 20, 2010           §
                                                    §
Related to:                                         §         JUDGE BARBIER
2:10-08888                                          §
                                                    §
Document No. 87503                                  §
                                                    §         Mag. Judge SHUSHAN

                               NOTICE OF MANUAL ATTACHMENT

        NOW COMES, VAN TANG d/b/a CHO SAIGON, Claimant, files this Notice of Manual
Attachment for the Motion for Leave and Emergency Motion For Relief and Request for Judicial
Review from the Appeals denial of the Business and Economic loss claim in accordance with the
approved settlement agreement and requests the following exhibits accompany the motion as a
manual attachment.
                                                     Respectfully Submitted,

                                                     /s/ Michael D. Antalan
                                                     MICHAEL D. ANTALAN
                                                     LAED Number: TX24039615
                                                     5425 Doolittle
                                                     Houston, Texas 77033
                                                     Office: (713) 738.3842
                                                     Direct: (713) 577.2864
                                                     Fax: (713) 588.8948
                                                     Attorney for VAN TANG d/b/a CHO SAIGON

                                      CERTIFICATE OF SERVICE

                    I hereby certify that the above and foregoing MEMORANDUM IN SUPPORT EMERGENCY
MOTION FOR RELIEF AND REQUEST FOR JUDICIAL REVIEW FROM THE APPEALS DENIAL OF THE
BUSINESS ECONOMIC LOSS CLAIM has been served on All Counsel by electronically uploading the same to
Lexis Nexis File & Serve in accordance with Pretrial Order No. 12, and that the foregoing was electronically filed
with the Clerk of Court of the United States District Court for the Eastern District of Louisiana by using CM/ECF
System, which will send a notice of electronic filing in accordance with the procedures established in MDL 2179, on
this on this 7th day of October, 2013.

                                                     /s/Michael D. Antalan
                                                     MICHAEL D. ANTALAN
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                                 PLAINTIFF’S EXHIBIT LIST

EXH.      Description                             M   O   O   A   D   Disposition after
NO.                                               A   F   B   D   A   Trial
                                                  R   F   J   M   T
                                                  K   E   E   I   E
                                                  E   R   C   T
                                                  D   E   T   T
                                                      D   E   E
                                                          D   D
1         Business License 1993
2         Business License Transfer 2001
3         Business License Transfer 2001
4         Business License Renewal 2006
5         IRS 2008 Tax Return

6         IRS 2009 Tax Return
7         2010 Profit & Loss Statement
8         Commercial Property Foreclosure
10        St. Landry’s Parish District Attorney
11        St. Landry’s Parish District Attorney
12        Commercial Property Foreclosure
13        Civil Judgment Creditor
14        Civil Judgment Creditor
15        Civil Judgment Creditor
16        Contract Vendor List
17        Business Operating Miscellaneous
18        Business Operating Miscellaneous
19        Civil Judgment Creditor
20        Presentment Of Claims 11092010
21        Civil Judgment Creditor
22        Notice Of Appeal 01132013
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EXH.   Description                          M   O   O   A   D   Disposition after
NO.                                         A   F   B   D   A   Trial
                                            R   F   J   M   T
                                            K   E   E   I   E
                                            E   R   C   T
                                            D   E   T   T
                                                D   E   E
                                                    D   D
23     DWHCC Denial Notice 12282012
24     DWHCC Denial Notice 06022013
25     DWHCC Appeal Denial 06022013
26     NOA Reconsideration 05152013
27     DWHCC P Recon Denial 04152013
28     BP Appeal Opposition
29     BEL DWHCC Claim Form
30     Failed BEL DWHCC Claim Form
31     DWHCC Consolidates Claim
32     SWS 18
33     SWS 19
34     SWS 23
35     SWS 24
36     SWS 26
37     SWS 34
38     NOA P Memorandum 05142013
39     NOA D Opposition
40     NOA P Memo Reply 06182013
41     Judicial Review Request w Exhibits
42     Ltr Judicial Review Jul 23 2013
43     SWS 14 Vincent Mai
44     DBA GEN-5 Authorization
45     Hardship Request
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EXH.   Description                       M   O   O   A   D   Disposition after
NO.                                      A   F   B   D   A   Trial
                                         R   F   J   M   T
                                         K   E   E   I   E
                                         E   R   C   T
                                         D   E   T   T
                                             D   E   E
                                                 D   D
46     IEL Denial Response 09082013
47     IRS 4506-T
48     SWS-8
49     SWS-9
50     SWS-27
51     Vincent Mai Affidavit
53     BP Presentment 12092010
54     DWHCC Email Final Denial
55     DWHCC Hardship Request Sep 2012
56     DWHCC Consolidated Nov 2012
57     DWHCC Email Correspondence
58     DWHCC Email Correspondence
59     DWHCC Email Correspondence
60     Start UP BEL Claim Form
61.5   MDL 2179 Filing
62     Map Texas Navigable Waters
63     IEL email denial
64     DWHCC Pol 7
65     DWHCC Pol 55
66     DWHCC Pol 56
67     DWHCC Pol 57
67.5   DWHCC Pol 67
68     DWHCC Pol 58
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EXH.   Description                    M   O   O   A   D   Disposition after
NO.                                   A   F   B   D   A   Trial
                                      R   F   J   M   T
                                      K   E   E   I   E
                                      E   R   C   T
                                      D   E   T   T
                                          D   E   E
                                              D   D
69     DWHCC Pol 66
70     DWHCC Pol 82
71     DWHCC Pol 83
72     DWHCC Pol 84
73     DWHCC Pol 85
74     DWHCC Pol 86
75     DWHCC Pol 105
76     DWHCC Pol 120
77     DWHCC Pol 179
78     DWHCC Pol 216
79     DWHCC Pol 250
80     DWHCC Pol 264
